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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI-DADE DIVISION
In re:

 SOLANGEL M. BELLO                                     Case Number 19-20216-AJC
                                                       Chapter 13
              Debtor.


  DEBTOR'S MOTION TO AVOID LIEN IMPAIRING HOMESTEAD EXEMPTION

         Debtor, SOLANGEL M. BELLO, by and through undersigned counsel, pursuant to 11

U.S.C. § 522(f) and Rules 4003 and 9014 of the Federal Rules of Bankruptcy Procedure, hereby

files this Motion to Avoid Lien Impairing Homestead Exemption, and states:

         1.     SOLANGEL M. BELLO (the "Debtor") filed a petition for relief under Chapter

13 of the United States Bankruptcy Code on July 31, 2019 (the "Petition Date").

         2.     The Debtor claimed as homestead her interest in the real property located at

16424 NW 77 Path, Miami, FL 33016 (the "Property"). The Property is legally described as

follows:

         Folio No.: 32-2015-031-0470
         Lot 12, Block 6, of Primavera First Addition, according to the Plat thereof, as
         recorded in Plat Book 154, Page 20 of the Public Records of Miami-Dade County,
         FL.

         The basis for the Debtor's claimed exemption of the Property is Article X,

Section 4(a), of the Florida Constitution, which provides that the Debtor's homestead is

exempt from the claims of all nonconsensual liens.

         3.     Before the Petition Date, the following creditor was awarded a final judgment

against the Debtor and the.judgment was recorded in the Public Records in and for Miami-Dade

County, Florida (the "Judgment") as follows:
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Creditor                                            Official Records Book     Page
The Padron Law Group                                    28412                 4661
                                                        28385                 2290



A copy of the Judgment is attached hereto as Exhibit "A" and is incorporated herein by

reference.

       4.      The Judgment impairs the Debtor's homestead exemption on the Property.

       5.      The Debtor is entitled to an order avoiding the Judgment under 11 U.S.C. §522(f)

and Article X, Section 4( a), of the Florida Constitution.

       WHEREFORE, the Debtor respectfully requests that this Court enter an order avoiding

the judgment lien and for any other relief deemed just and proper in the circumstances.

                                 CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing was sent, via
Regular U.S. Mail, this 29th day of August 2019 to the following parties:

Nancy K. Neidich, Chapter 13 Trustee                The Padron Law Group, PL
ecf2@chl3herkert.com and                            135 San Lorenzo Avenue, Suite 650
e2c8fD 1@ch13herkert.com                            Coral Gables, FL 33146
Via CM/ECF

The Padron Law Group, PL
c/o Luis M. Padron - RA
135 San Lorenzo A venue, Suite 650
Coral Gables, FL 33146
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                                                         KINGCADE & GARCIA, P.A
          CERTIFICATE PURSUANT TO                        Counsel for the Debtor
            LOCAL RULE 9011-4(B)                         Kingcade Building
                                                         1370 Coral Way• Miami, Florida 33145-2960
            I HEREBY CERTIFY that I am                   WWW.MIAMIBANKRUPTCY.COM
       admitted to the Bar of the United States          Telephone: 305-285-9100 •Facsimile: 305-285-9542
       District Court for the Southern District of
       Florida and I am in compliance with the           Isl Timothy S. Kingcade, Esq.
       additional qualifications to practice in
                                                         x Timothy S. Kingcade, Esq., FBN 082309
       this Court set forth in Local Rule 2090-
       1(A).
                                                         o Jessica L. McMaken, Esq., FBN 580163
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                                            CFN 2012R0924244 OR
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                                                                             Jl\'2•!1!11'1!"11111•11
              IN THE CtRCUIT COURT OF THE 11~.:rIMr CLERK OF cay, ftIAnI-DADE C1UITYr fLllRil>ll'
              JUDICIAL CIRCUIT IN ANO FOR
              MIAMI-DADE COUNTY. FLORIDA

              GENERAL JURtSDICTION DIVISION

              CASE NO.: 11-37539 CA"'21


              THE PADRON LAW GROUP, Pl, f/kla
              LUIS M. PADRON &ASSOCIATES, PA,
                              Plaintiff.                                                            .....
              vs.                                               FINAL JUDGMENT AGAINST
                                                                SOLANGEL M. 8ELL.Q. a/tJa
                                                                SOLANQEL 8ELLQ..ALFONSO
              SOL.ANGEL M. BELLO, a/kla
              SOLANGEL BELLO-ALFONSO,
                              Defendant.
              --------------------~'
                            THIS CAUSE having come to be heard on NCM!tmber 28, 2012, upon
              Plaintiff's Motion for Entry of Final Judgment. the Court having heard argument of counsel
              and being otherwise duly advised in the premises,
                             IT IS HEREBY ORDERED ANO ADJUDGED that the Plaintiff. THE
              PADRON t.AW GROUP. PL. fJkJa LUIS M. PADRON &ASSOCIATES, PA, recovefS
              from the Dafandant, SOLANGEL M. BELLO. a/t(/a SOLANGEL BELLO-ALFONSO, the
              sum of $96,788.44. plus court costs of S~. and attorney'& fees of $1.500.00. for a
              total of $98.814.44, that shall bear inlere$t at the rate of 4.75%, foraff of the above let
              execution iuue.

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                                                                SARAH I.        El


               cc:
                      Florida Bar 1559776
                      Ludovici & Ludovici, P.A.
                                                                CIRCUIT COURT JUDGE

                      Susan M. Ludovici. Esq., attorney for P1aff1tilf   Platntiff:
                                                                         THE PADRON LAW GROUP,
                                                                         135 San Lorenzo Ave., Suite 8
                                                                                                            d   I
                                                                                                                I
                                                                                                                .I
                      17415 South Dixie Highway                          Coral Gables, FL 33146             ~   _.a
                      Palmetto Bay, FL 33157-5491




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https://onlineservices.miami-dadeclerk.corn/officialrecords/CFNDetailsHTML5 .aspx?QS= ... 7/31/2019
